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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           ORLANDO DIVISION


AJAY REDDY,

                Plaintiff,                  Case No. 6:21-CV-01821-ACC-EJK

v.

SPACE EXPLORATION
TECHNOLOGIES CORP.,

                Defendant.



             DEFENDANT’S STATUS REPORT ON ARBITRATION

      Defendant Space Exploration Technologies Corporation, pursuant to this

Court’s Order (ECF No. 9), submits this Status Report advising the Court of the

status of arbitration. Defendant states as follows:

      1.     Arbitration has commenced with JAMS and an arbitrator has been

selected.

      2.     Discovery is underway, and depositions are set in September 2022.

      3.     Pursuant to the scheduling order, discovery must be completed by

October 3, 2022.

Dated this 1st day of September 2022.
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                                      Respectfully submitted,

                                      /s/ Kimberly R. Rivera
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                                      Technologies Corporation




                                    2.
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                                 CERTIFICATE OF SERVICE

         I hereby certify that on September 1, 2022, the undersigned electronically filed

the foregoing with the Clerk of the Court using the CM/ECF system which will send

notification to counsel of record.




                                                        /s/ Kimberly Rivera
                                                      Kimberly Rivera, Esquire




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